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                    IN THE UNITED STATES DISTRICT COURT

                  FOR THE WESTERN DISTRICT OF WISCONSIN

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UNITED STATES OF AMERICA,
                                                                 ORDER
                           Plaintiff,
                                                                 08-cr-87-bbc

             v.

COREY THOMAS,

                           Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

      Defendant Corey Thomas has written to the court asking for a copy of his trial

transcripts. He states that he wishes to use the transcripts to pursue a motion under 28

U.S.C. § 2255. I construe the motion as a request for preparation of the transcripts at

government expense, pursuant to 28 U.S.C. §753(f), which provides in relevant part:

             Fees for transcripts furnished in proceedings brought under
             section 2255 of this title to persons permitted to sue or appeal
             in forma pauperis shall be paid by the United States . . . if the
             trial judge or a circuit judge certifies that the suit or appeal is
             not frivolous and that the transcript is needed to decide the
             issue presented by the suit or appeal.



      Defendant has not said what aspect of his conviction he wishes to challenge or

explained how the transcripts are necessary to decide the issue. Without this information,

I cannot certify either that his motion would not be frivolous or that the transcripts are



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necessary. Therefore, his request for preparation of the transcripts at government expense

will be denied without prejudice.

       If defendant wishes, he may obtain a copy of the transcripts at his own expense by

writing directly to the Court Reporters Office, United States District Court, 120 N. Henry

Street, Madison, WI, 53703, (608) 255-3821.




                                        ORDER

       IT IS ORDERED that defendant Corey Thomas’s motion for preparation of

transcripts at government expense pursuant to 28 U.S.C. §753(f) is DENIED without

prejudice.


       Entered this 14th day of July, 2011.

                                         BY THE COURT:

                                         /s/
                                         BARBARA B. CRABB
                                         District Judge




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